Case 2:96-cv-02520-.]PI\/| Document 846 Filed 07/25/05 Page 1 of 5 Page|D 1640

 

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DARlus D. Ln'rLE, aHVF/(D%§PFST§:}CALHCCSXM

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Plaintifr,
vs. CivilAction No. 96-2520 M|

SHELBY COUNTY1 TENNESSEE;
A.C. GlLLESS, individually and

in his official capacity as

Sheriff of Shelby County,
Tennessee; DENN|S DOWD,
individually and in his official
capacity as Chief Jailer of

Shelby County; and JlNl ROUTl
individually and in his official
capacity as Mayor of Shelby County,

 

CONSENT ORDER AWARD|NG lNTER|M PAYMENT OF
ATTORNEYS FEES AND EXPENSES

 

lTAPPEAR|NG TO THE COURT that P|aintiffs’ counsel have submitted to the
Defendants a statement seeking $1,107.00 in attorneys feesl and $5.00 in expenses
(total $1,112.00) for work performed in the above referenced case from lVlay 1, 2005
through June 30, 2005.

lT FURTHER APPEAR|NG TO THE COURT that by its order dated June 5,
2001, this Court found P|aintiffs’ counsel are entitled to attorneys fees and expenses for
litigating this case. P|aintiffs’ counsel are further entitled to interim payment of attorneys

fees and expenses

This document entered on the docket sheet In compllance
with Ru|e 58 and/or 79 (a) FRCP on ' ' 5

 

h Case 2:96-cv-02520-.]PI\/| Document 846 Filed 07/25/05 Page 20f5 Page|D 1641

|T FURTHER APPEAR|NG TO THE COURT that by this Court’s order dated
June 5, 2001, this Court held that the Prison Litigation Reform Act, 42 U.S.C. §1997(e),
(“P.L.R.A.") is applicable to these proceedings The P.L.R.A. limits the hourly rate
awarded to P|aintiff's counsel for attorneys fees to 150 percent of the hourly rate
established under §3006/-\ of Title 18, for payment of court appointed counsel in indigent
criminal defense cases. By Order entered June 27, 2002, this Court acknowledged
that the appropriate rate of compensation under the P.L.R.A. is currently $135.00 per
houn

|T FURTHER APPEAR|NG TO THE COURT that the parties consent that the
above requested fees and expenses are reasonable and owed to P|aintiffs’ counse|,
and are calculated at rates authorized by the P.L.R.A.

lT iS, THEREFORE, ORDERED, ADJUDGED, AND DECREED by consent, that
Defendants shall promptly pay the law firm of G|ankier Brown, PLLC, the total sum of
$1,112.00 for interim attorneys fees and expenses for work performed in this case from

lV|ay 1, 2005 through June 30, 2005.

|T |S SO ORDERED BY CONSENT this di o day Of Ju|y, 2005.

tr i>.iii‘@~@i»

HO ORABLE JON P. |V|CCALLA
U ` ed States District Judge

 

Case 2:96-cv-02520-.]PI\/| Document 846 Filed 07/25/05 Page 3 of 5 Page|D 1642

We consent:

.7, /M
Robert Hutton
Lead Counse| for P|aintiffs

Bebra Fessenden, Assistant §h/:Jy County Attorney

Attorney for Defendants

F:\CLiENTS\L|TTLE. DAR|US (16012)iPLEADiNG\consentorder for fees January throughApri| 2005.c|oc

   

UNIED` STATESDISTRIC COURT - \)\n§Eru\iST DITRCIT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 846 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
.1 uly 26, 2005 to the parties listed.

 

 

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Case 2:96-cv-02520-.]PI\/| Document 846 Filed 07/25/05 Page 5 of 5 Page|D 1644

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Honorable .1 on McCalla
US DISTRICT COURT

